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            EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                     :
  STATE OF NEW JERSEY, et al.        :
                                     :
       Plaintiffs,
                                     :
    v.                               :
                                     :
  DONALD J. TRUMP, et al.            :
                                     :
       Defendants.                   :
                                     :
                                        Civil Action No.: ___________
                                                           25-cv-10139
                                     :
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                                     :
                   DECLARATION OF SARAH ADELMAN

       I, Sarah Adelman, hereby declare:

1. I am the Commissioner of the New Jersey Department of Human Services (“DHS”). I have

   been employed as Commissioner since January 2021.

2. As Commissioner of DHS, I have personal knowledge of the matters set forth below, or have

   knowledge of the matters based on my review of information and records gathered by my

   staff.

3. I am providing this declaration to explain certain impacts on the State of New Jersey’s health

   insurance programs of an executive order titled “Protecting the Meaning and Value of

   American Citizenship,” issued on January 20, 2025 (the “Executive Order”), which revokes

   birthright citizenship for children born after February 19, 2025 to (i) a mother who is




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   unlawfully present or who is lawfully present in the United States but on a temporary basis,

   and (ii) a father who is neither a citizen nor a lawful permanent resident.

                              NJ FamilyCare and Eligibility Rules

4. Within DHS, the Division of Medical Assistance and Health Services (“DMAHS”),

   administers several programs that enable qualifying New Jersey residents to access free or

   low-cost healthcare coverage. These are referred to as “NJ FamilyCare” programs.

5. NJ FamilyCare is publicly funded health insurance. It includes New Jersey’s partially

   federally funded Medicaid program (“Federal-State Medicaid”), New Jersey’s partially

   federally funded Children’s Health Insurance Program (“CHIP”), and New Jersey’s Cover

   All Kids Phase II initiative. As of December 2024, 1,673,856 New Jersey residents are

   enrolled in Federal-State Medicaid, of which 639,212 were children. An additional 161,577

   children are enrolled in CHIP.

6. NJ FamilyCare provides comprehensive healthcare coverage for a wide range of services,

   including primary care, hospitalization, laboratory tests, x-rays, prescriptions, mental health

   care, dental care, preventive screenings, and more.

7. Health insurance provided through NJ FamilyCare, including programs that rely in part on

   federal funding and those funded entirely by the state, are generally administered through

   managed care organizations (“MCOs”) that receive a monthly capitation payment from the

   State for each member enrolled in a particular MCO plan.

8. Eligibility for NJ FamilyCare health insurance programs, including eligibility for Federal-

   State Medicaid and CHIP, depends in part on age, immigration status, and household income.

9. In general, children under the age of 18 (i) meet the income eligibility requirement for

   Federal-State Medicaid in New Jersey if their household’s modified adjusted gross income


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   (“MAGI”) is less than 147% of the federal poverty level (“FPL”), and (ii) meet the income

   eligibility requirement for CHIP in New Jersey if their household’s MAGI is less than 355%

   of the FPL.

10. To be eligible for Federal-State Medicaid or CHIP, a child must also be a U.S. citizen or

   “lawfully residing,” as that term is defined by federal law. “Lawfully residing” individuals

   are “lawfully present” and include qualified immigrants such as lawful permanent residents,

   asylees, refugees, and trafficking victims, as well as nonimmigrant visa holders and

   humanitarian status classes such as Temporary Protected Status and Special Immigrant

   Juvenile Status. Children who are not citizens or “lawfully residing” are commonly referred

   to as undocumented. This eligibility requirement is subject to certain narrowly-defined

   exceptions for some emergency services, which Federal-State Medicaid may cover for

   individuals who are neither citizens nor “lawfully residing” if they meet the Federal-State

   Medicaid income eligibility guidelines.

11. Pursuant to Cover All Kids Phase II, all New Jersey children under age 19 who meet the

   income eligibility requirements for Federal-State Medicaid or CHIP but are not U.S. citizens

   or “lawfully residing” are eligible for health insurance through NJ FamilyCare that is fully

   funded by the State.

12. New Jersey implemented Cover All Kids Phase II because access to healthcare, particularly

   to primary care, makes children and communities healthier, and it is a fiscally responsible

   investment in the future of New Jersey children.

13. The increased enrollment of children in NJ FamilyCare via Cover All Kids Phase II has had a

   positive impact on public health in the state. Children enrolled in NJ FamilyCare are more

   likely to receive preventative care services. This reduces the need for more intensive health



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   care treatments, including emergency care, as illnesses develop. It also reduces the financial

   burden on health care providers from providing care to uninsured individuals and ensures

   that families are not left with medical bills that they are unable to pay. In addition, sick

   children with health insurance coverage are more likely to see a health care provider and

   receive treatment, limiting the spread of infectious illnesses across the state.

14. Having insurance coverage also makes it less likely that children will have to visit an

   emergency room to treat preventable illnesses because it is more likely that they will receive

   medical care before a treatable medical issue becomes an emergency. This reduces the

   resource strain and uncompensated care burden on hospitals.

                                         Federal Funding

15. For children covered by the Federal-State Medicaid program, the federal government

   generally reimburses for 50 percent of New Jersey’s health care expenditures. For children

   covered by CHIP, the federal government generally reimburses for 65 percent of New

   Jersey’s health care expenditures.

16. By contrast, with the exception of certain limited emergency medical services that may be

   covered by Federal-State Medicaid, NJ FamilyCare coverage for undocumented children is

   fully funded by New Jersey, without any federal funding assistance.

17. Federal funding for NJ FamilyCare’s Medicaid and CHIP programs is provided through an

   advance quarterly grant from the federal Centers on Medicare and Medicaid Services

   (“CMS”) to the State of New Jersey, with a post-quarter reconciliation. This quarterly

   process begins with the State submitting to CMS a CMS-37 report, which estimates the

   reimbursable expenditures the State expects to make for the upcoming quarter, six weeks

   before the quarter begins. Those estimates are based on current enrollment figures. For the



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   January to March 2025 quarter, the State submitted the report on or about October 15, 2024.

   The next CMS-37 report is expected to be submitted in mid-February.

18. CMS then issues quarterly federal grants the week before the start of the quarter. During the

   quarter, the State draws down from this grant award what is needed to make weekly batch

   payments to partially fund its expenditures for Medicaid and CHIP. Within 30 days after the

   end of a quarter, the State sends to CMS a CMS-64 report, which reports all reimbursable

   expenditures for the quarter. If the initial federal grant was less than final reimbursable

   expenditures, CMS will typically transmit an additional reconciling grant four to five months

   after the end of the relevant quarter.

                               Healthcare Coverage for Newborns

19. All children born in the United States and residing in New Jersey whose family income is at

   or below 355% of the Federal Poverty Level are eligible for NJ FamilyCare.

20. Before the Executive Order, all children born in New Jersey were considered U.S. citizens.

   Thus, NJ FamilyCare coverage for newborns in New Jersey was partially funded by the State

   and partially funded by the federal government, either through Federal-State Medicaid or

   CHIP.

21. Most healthy newborns remain in the hospital for two or three days after delivery. During

   this time, they receive routine postnatal care, including a vitamin K injection, antibiotic eye

   ointment, screening tests (e.g., heel-prick blood test, hearing screening), and hepatitis B

   vaccination.

22. Additionally, the American Academy of Pediatrics recommends that newborns see a doctor

   or nurse for a “well-baby visit” six times before their first birthday, including within the first




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   3-5 days, the first month, the second month, the fourth month, the sixth month, and the ninth

   month after birth.

23. Within the first year of life, babies may also need to visit a doctor when they appear ill and

   may require testing or prescription medication.

24. Children ages 1-18 typically have a range of health care needs that require services from

   various health care providers. For example, children in New Jersey must receive certain

   immunizations prior to starting school, unless they have an exemption for medical or

   religious reasons.

                         Fiscal Impact of Revoking Birthright Citizenship

25. NJ FamilyCare currently pays $248.35 per member, per month (totaling $2,980.20 per year)

   for the vast majority of children enrolled in NJ FamilyCare health insurance programs. As

   noted above, the federal government generally covers 50 percent of these costs for children

   enrolled in Federal-State Medicaid and 65 percent for children enrolled in CHIP.

26. However, if a child were not eligible for Federal-State Medicaid or CHIP, New Jersey would

   not receive that federal assistance, and would cover the full cost of health insurance coverage

   for the newborn.

27. The Medical Emergency Payment Program (“MEPP”) provides limited emergency Medicaid

   coverage that is partially federally-funded to adults ages 19 or older who meet income

   eligibility guidelines regardless of citizenship or immigration status. MEPP covers labor and

   delivery services for undocumented women giving birth in New Jersey, but does not cover

   post-delivery health care for their newborn children. Instead, those newborns have, until

   now, been eligible for Federal-State Medicaid because they meet the income eligibility

   guidelines and are U.S. citizens.



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28. In each of the last three calendar years, there have been between 7,000 and 8,000 births per

   year to pregnant women whose labor and delivery was covered by MEPP. DHS has been

   advised of estimates indicating that approximately 58 percent of these children likely had a

   second parent who was undocumented. Thus, a reasonable approximation of the number of

   children born to undocumented parents who would have been eligible for Federal-State

   Medicaid but will not be due to the Executive Order—and instead will receive health

   insurance through New Jersey’s state-funded health insurance program—is 4,060 to 4,640

   children per year. This is an underestimate to some degree because it does not include

   children who have one parent who is not undocumented but who nonetheless does not meet

   the immigration status requirements of the Executive Order to confer citizenship on their

   child born in the United States.

29. New Jersey spends close to $3,000 per member per year on children enrolled in Federal-State

   Medicaid, and the federal government covers 50 percent of these costs. If between 4,060 and

   4,640 children are enrolled in fully state-funded health insurance rather than Federal-State

   Medicaid in a given year because of the Executive Order, this will cost the State between

   approximately $6 to $7 million per year. This estimate does not include the loss of federal

   funding that New Jersey would experience from children who are eligible for CHIP but not

   Federal-State Medicaid being shifted to fully state-funded health insurance.

           Eligibility Verification Process For Federally-Funded Medicaid and CHIP

30. When a child is born to parents who lack private health insurance, the healthcare facility at

   which the child is born typically submits information to DHS for a determination of the

   child’s eligibility for public health insurance through NJ FamilyCare. The application is

   processed by either a state vendor or the county social services agency in the individual’s



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   county of residence. Approximately half of all Medicaid enrollees are enrolled through the

   vendor and another half through the counties.

31. The vendor and counties utilize an eligibility verification system to determine whether the

   applicant is eligible for Federal-State Medicaid or CHIP, and if not, if they are eligible for

   fully state-funded health insurance. The vendor uses its own eligibility verification system,

   while the counties use a system designed by DHS. Both systems currently rely on the fact

   that a newborn was born in a New Jersey healthcare facility as proof of citizenship to qualify

   the newborn for Federal-State Medicaid or CHIP.

32. Because of the Executive Order, the state vendor and DHS will have to develop a new

   eligibility verification system to determine whether newborn children are eligible for

   Federal-State Medicaid or CHIP because they can no longer rely on the fact that a child was

   born in the United States to confirm citizenship status. Although some newborn children,

   pursuant to a federal regulation, may be deemed eligible for Federal-State Medicaid until the

   age of one because their mother was covered by MEPP, this does not ensure coverage for all

   newborn children who are otherwise eligible for Federal-State Medicaid or CHIP.

33. DHS and the state vendor would incur significant costs to re-design their eligibility

   verifications systems to address changes in citizenship rules for newborn children. The re-

   design would require significant planning to understand the new rules governing U.S.

   citizenship for newborn children born in the United States, to identify and determine the

   kinds of evidence that would suffice as proof of citizenship, and to modify the IT systems

   that are used to process applications and verify eligibility. The state vendor would almost

   certainly seek to pass on to the State any costs that it incurred.




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34. In addition, DHS would incur significant costs to train staff, partners, and healthcare

   providers on the new eligibility system and procedures, and to revise existing guidance

   documents and manuals regarding eligibility rules and procedures. DHS currently relies on

   1,471 county caseworkers and 173 vendor employees to handle eligibility determinations for

   NJ FamilyCare.

35. It will likely take in the range of six months to develop and implement a new eligibility

   system and undertake the necessary training to ensure that it can be deployed effectively.

36. Children residing in New Jersey are eligible for NJ FamilyCare health insurance programs,

   including the fully state-funded program regardless of where they were born. Children

   residing in New Jersey who moved into the state from other states, including neighboring

   states like Pennsylvania or New York, are frequently enrolled in NJ FamilyCare health

   insurance programs. Presently, the eligibility verification systems used by DHS’s vendor and

   county agencies have no reason to track the state of birth of U.S.-born children who apply for

   NJ FamilyCare. If the rules governing birthright citizenship varied by state of birth, these

   eligibility verification systems will have to start tracking state of birth so that they can

   accurately determine whether a child is a citizen and therefore eligible for Federal-State

   Medicaid or CHIP, or whether they are not a citizen and thus only eligible for fully state-

   funded health insurance. This will further complicate the process of redesigning eligibility

   verification systems described above, requiring additional expenditure of DHS’s time and

   resources.




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      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

      Executed this 21st day of January, 2025, in Trenton, New Jersey.




                                                    ___________________________________
                                                    Sarah Adelman, Commissioner
                                                    New Jersey Department of Human Services




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